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 1   McGREGOR W. SCOTT
     United States Attorney
 2   KATHLEEN A. SERVATIUS
     Assistant U.S. Attorney
 3   Federal Courthouse
     2500 Tulare Street, Suite 4401
 4   Fresno, California 93721
     Telephone: (559) 497-4000
 5

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 8                      IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,          )                 CR. F. NO. 05-0304 AWI
                                        )
12                  Plaintiff,          )                 STIPULATION TO CONTINUE
                                        )                 HEARING
13             v.                       )
                                        )
14   LORENZO CISNEROS RODRIGUEZ, et al. )
                                        )
15                                      )
                    Defendants.         )
16                                      )

17
            The parties herein, through their respective counsel, hereby agree and stipulate that the
18
     hearing currently set for February 21, 2006 at 9 a.m. be continued to March 13, 2006 at 9 a.m.
19
            Pursuant to 18 U.S.C. §3161(h)(i)(F), 3161(h)(8)(A) and 3161(h)(8)(B)(i), we would ask
20
     that exclusion of time be granted
21
     DATED: February 15, 2006                             McGREGOR W. SCOTT
22                                                        United States Attorney

23                                                      By          /S/

24                                                        KATHLEEN A. SERVATIUS
                                                          Assistant U.S. Attorney
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        Case 1:05-cr-00304-AWI Document 67 Filed 02/21/06 Page 2 of 3



 1
     DATED: February 15, 2006                         /S/
 2                                             MELODY WALCOTT
                                               Attorney for Lorenzo Cisneros Rodriguez
 3

 4
     DATED: February 15, 2006                         /S/
 5                                             DANIEL HARRELSON
                                               Attorney for Ignacio Estrada-Ortega
 6

 7   DATED: February 15, 2006                         /S/
                                               JOHN GARLAND
 8                                             Attorney for Jose Manuel Vargas

 9
     DATED: February 15, 2006                         /S/
10                                             KATHERINE HART
                                               Attorney for Rosario Gonzales Garcia
11

12   DATED: February 15, 2006                         /S/
                                               STEVEN CRAWFORD
13                                             Attorney for Miguel Angel A. Alvarez

14
     DATED: February 15, 2006                         /S/
15                                             PHILLIP CHERNEY
                                               Attorney for Genaro Zuniga
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 1                                               ORDER

 2          IT IS HEREBY ORDERED THAT the hearing date currently set for February 21, 2006 at

 3   9 a.m. be continued to March 13, 2006 at 9 a.m.

 4

 5   IT IS SO ORDERED.

 6   Dated:    February 17, 2006                      /s/ Anthony W. Ishii
     0m8i78                                     UNITED STATES DISTRICT JUDGE
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